            Case 2:18-cr-00179-WJM Document 112 Filed 01/31/20 Page 1 of 6 PageID: 2215
AC 2456 (Mod, D/N] 12/06) Sheet 1   -   Judgment in a Criminal Case




                                                                UNITED STATES DISTRICT COURT
                                                                      District of New Jersey


  UNITED STATES OF AMERICA

             V.
                                                                                 CASE NUMBER              2:18-CR-00179-WJM-2
 LINCOLN WARRINGTON

            Defendant.


                                                               JUDGMENT IN A CRIMINAL CASE
                                                    (For Offenses Committed On or After November 1, 1987)


            The defendant, LINCOLN WARRINGTON, was represented by NICHOLAS G. KAIZER and RICHARD WARE
LEVITT.

The defendant pleaded guilty to count 1 of the INDICTMENT on 3/20/2019.                              Accordingly, the court has adjudicated that
the defendant is guilty of the following offense(s):

                                                                                                                                  Count
 Title & Section                    Nature of Offense                                                      Date of Offense        Number(s)

  18:371                            CONSPIRACY TO DEFRAUD THE UNITED STATES                                1/2007    -   4/2016   1


       As pronounced on January 28, 2020, the defendant is sentenced as provided in pages 2 through 6 of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.

         It is ordered that the defendant must pay to the United States a special assessment of $100.00 for count(s) 1, which
shall be due immediately. Said special assessment shall be made payable to the Clerk, U.S. District Court.

         It is further ordered that the defendant must notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of any
material change in economic circumstances.

            Signed this 30th day of January, 2020.



                                                                                    illiam J.       arti i
                                                                                  Senior U      .   District Judge




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             Case 2:18-cr-00179-WJM Document 112 Filed 01/31/20 Page 2 of 6 PageID: 2216
A0 2456 (Mod 0/NJ 12/06( Sheet 2- Imprisonment


                                                                                            Judgment   -   Page   2   of 6


Defendant:   LINCOLN      WARRINGTON

Case   Number:    2:18-CR-00179-WJM-2




                                                         IMPRISONMENT

        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
term of 12 months, and 1 day

         The Court makes the following recommendations to the Bureau of Prisons: It is recommended that Defendant be
designated to a facility as close to his home as possible and which will also accommodate his strict religious dietary
limitations.

            The defendant will surrender for service of sentence at the institution designated by the Bureau of Prisons.




                                                             RETURN

             I have executed this Judgment as follows:




             Defendant delivered on                                      To
 At                                                                           with a certified copy of this Judgment.



                                                                                      United States Marshal

                                                                                 By
                                                                                       Deputy Marshal
           Case 2:18-cr-00179-WJM Document 112 Filed 01/31/20 Page 3 of 6 PageID: 2217
AC 2455 (Mod D/NJ 12/06( Sheel 3-Supervised Release


                                                                                             Judgment   -   Page 3 of 6
Defendant: LINCOLN WARRINGTON
Case Number: 2:18-CR-00179-WJM-2



                                                           SUPERVISED RELEASE
           Upon release from imprisonment, you will be on supervised release for a term of 3 years.

         Within 72 hours of release from custody of the Bureau of Prisons, you must report in person to the Probation Office
in the district to which you are released.

         While on supervised release, you must not commit another federal, state, or local crime, must refrain from any
unlawful use of a controlled substance and must comply with the mandatory and standard conditions that have been adopted
by this court as set forth below.

        Based on information presented, you are excused from the mandatory drug testing provision, however, you may be
requested to submit to drug testing during the period of supervision if the probation officer determines a risk of substance
abuse.

           You must cooperate in the collection of DNA as directed by the probation officer

         If this judgment imposes a fine, special assessment, costs, or restitution obligation, it is a condition of supervised
release that you pay any such fine, assessments, costs, and restitution that remains unpaid at the commencement of the
term of supervised release.

           You must comply with the following special conditions:

           FINANCIAL DISCLOSURE

           Upon request, you must provide the U.S. Probation Office with full disclosure of your financial records, including co
           mingled income, expenses, assets and liabilities, to include yearly income tax returns. With the exception of the
           financial accounts reported and noted within the presentence report, you are prohibited from maintaining and/or
           opening any additional individual and/or joint checking, savings, or other financial accounts, for either personal or
           business purposes, without the knowledge and approval of the U.S. Probation Office. You must cooperate with the
           U.S. Probation Officer in the investigation of your financial dealings and must provide truthful monthly statements
           of your income. You must cooperate in the signing of any authorization to release information forms permitting the
           U.S. Probation Office access to your financial records.

           INTERNAL REVENUE SERVICE                   -   COOPERATION

           You must fully cooperate with the Internal Revenue Service by filing all delinquent or amended returns within six
           months of the sentence date and timely file all future returns that come due during the period of supervision. You
           must properly report all corrected taxable income and claim only allowable expenses on those returns. You must
           provide all appropriate documentation in support of said returns. Upon request, you must furnish the Internal
           Revenue Service with information pertaining to all assets and liabilities, and you must fully cooperate by paying all
           taxes, interest and penalties due, and otherwise comply with the tax laws of the United States.

           NEW DEBT RESTRICTIONS

           You are prohibited from incurring any new credit charges, opening additional lines of credit, or incurring any new
           monetary loan, obligation, or debt, by whatever name known, without the approval of the U.S. Probation Office. You
           must not encumber or liquidate interest in any assets unless it is in direct service of the fine and/or restitution
           obligation or otherwise has the expressed approval of the Court.

           SELF-EMPLOYMENT/BUSINESS DISCLOSURE

           You must cooperate with the U.S. Probation Office in the investigation and approval of any position of self
           employment, including any independent, entrepreneurial, or freelance employment or business activity, If approved
           for self-employment, you must provide the U.S. Probation Office with full disclosure of your self-employment and
           other business records, including, but not limited to, all of the records identified in the Probation Form 48F (Request
           for Self Employment Records), or as otherwise requested by the U.S. Probation Office.
            Case 2:18-cr-00179-WJM Document 112 Filed 01/31/20 Page 4 of 6 PageID: 2218
AC 2456 (Mod, 0/NJ 12/06) Sheet 3-Supervised Release


                                                                                      Judgment   -   Page 4 016
Defendant: LINCOLN WARRINGTON
Case Number: 2:18-CR-00179-WJM-2




            SUPPORTING DEPENDENTS

            If you are Court-ordered to make child support payments or to make payments to support a person caring for a
            child, you must make the payments and comply with the other terms of the order.
            Case 2:18-cr-00179-WJM Document 112 Filed 01/31/20 Page 5 of 6 PageID: 2219
AO 245B (Mod 0/NJ 12/06) Sheet 3a   -   Supervised Release


                                                                                               Judgment   -   Page 5 of 6
Defendant: LINCOLN WARRINGTON
Case Number: 2:18-CR-00179-WJM-2



                                                     STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, you must Comply with the following standard Conditions of supervision. These Conditions
are imposed because they establish the basic expectations for your behavior while on supervision and identify the minimum
tools needed by probation officers to keep informed, report to the court about, and bring about improvements in your conduct
and condition.


1)   You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours
     of your release from imprisonment, unless the probation officer instructs you to report to a different probation office or
     within a different time frame.

2)   After initially reporting to the probation office, you will receive instructions from the court or the probation officer about
     how and when you must report to the probation officer, and you must report to the probation officer as instructed.

3)   You must not knowingly leave the federal judicial district where you are authorized to reside without first getting
     permission from the court or the probation officer.

4)   You must answer truthfully the questions asked by your probation officer.

5)   You must live at a place approved by the probation officer. If you plan to change where you live or anything about your
     living arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the
     change. If notifying the probation officer in advance is not possible due to unanticipated circumstances, you must notify
     the probation officer within 72 hours of becoming aware of a change or expected change.

6)   You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the
     probation officer to take any items prohibited by the conditions of your supervision that he or she observes in plain
     view.

7)   You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer
     excuses you from doing so. If you do not have fulltime employment you must try to find full-time employment, unless
     the probation officer excuses you from doing so. If you plan to change where you work or anything about your work
     (such as your position or your job responsibilities), you must notify the probation officer at least 10 days before the
     change. If notifying the probation officer at least 10 days in advance is not possible due to unanticipated
     circumstances, you must notify the probation officer within 72 hours of becoming aware of a change or expected
     change.

8)   You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone
     has been convicted of a felony, you must not knowingly communicate or interact with that person without first getting
     the permission of the probation officer.

9)   If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.

10) You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e..
    anything that was designed, or was modified for, the specific purpose of causing bodily injury or death to another
    person such as nunchakus or tasers).

11) You must not act or make any agreement with a law enforcement agency to act as a confidential human source or
    informant without first getting the permission of the court.

12) If the probation officer determines that you pose a risk to another person (including an organization), the probation
    officer may require you to notify the person about the risk and you must comply with that instruction. The probation
    officer may contact the person and confirm that you have notified the person about the risk.
           Case 2:18-cr-00179-WJM Document 112 Filed 01/31/20 Page 6 of 6 PageID: 2220
AO 245R (Mod DINJ 12106( Sheet 3a   -   Supervised Release


                                                                                                            Judgment Page 6 of 6
                                                                                                                     -




Defendant: LINCOLN WARRINGION
Case Number: 2:18-CR-aol 79-WJM-2



                                                     STANDARD CONDITIONS OF SUPERVISION
13) You must follow the instructions of the probation officer related to the Conditions of supervision.




                                                             For Official Use Only---U.S Probation Office

   Upon a finding of a violation of probation or supervised release, I understand that the Court may (1) revoke supervision
or (2) extend the term of supervision and/or modify the conditions of supervision.

   These conditions have been read to me. I fully understand the conditions, and have been provided a copy of them.

   You shall carry out all rules, in addition to the above, as prescribed by the Chief U.S. Probation Officer, or any of his
associate Probation Officers.

                                        (Signed)________________________________________________________________________________
                                                                Defendant                                       Date



                                                             U.S ProbationOfficer/Degnated Witness                         Da
